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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL
 Case No.          CV 20-9091 PA (ASx)                                          Date    August 27, 2021
 Title             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.



 Present: The Honorable           PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                         N/A
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                None
 Proceedings:                 IN CHAMBERS – COURT ORDER

       The Court orders (Docket Nos. 68 and 69) in response to the parties’ application to have
certain documents sealed are vacated. The Court will issue new orders in due course. Counsel
are reminded that the Local Rules of this Court prohibit counsel from raising substantive legal
issues through the Court’s clerk. Such matters should be raised by filing a appropriate motion,
ex parte application, or stipulation. Any future violations will result in the imposition of
sanctions.

         IT IS SO ORDERED.




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